                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:08-cr-119-1-W
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 LUIS GOMEZ-GUERRERO,                               )
                                                    )
                Defendant.                          )
                                                    )

       THE MATTER is before the Court on defense counsel’s Motion to Withdraw (Doc. No. 92).

Because defense counsel has already earned significant attorneys’ fees in this matter, the Court is

concerned with the efficiency of allowing withdrawal and appointing new counsel at this late stage

in the case. Therefore, counsel shall supplement her motion to specifically state the date upon which

she will be sworn in as Mecklenburg County District Court Judge.

       IT IS HEREBY ORDERED that the defense counsel shall supplement her motion no later

than Wednesday, November 12, 2008, in response to the inquiry made herein.

       IT IS SO ORDERED.

                                                 Signed: November 7, 2008




       Case 3:08-cr-00119-FDW            Document 93       Filed 11/07/08      Page 1 of 1
